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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

      Civil Action No.: 1:14-cv-02887-JLK

      ALEJANDRO MENOCAL, et al.,

             Plaintiffs,

      v.

      THE GEO GROUP, INC.,

             Defendant.


                   STIPULATED ORDER REGARDING THE DISCLOSURE OF
                           PRIVILEGED INFORMATION (CM/ECF No. 154)


             The parties, by and through their respective counsel, have jointly stipulated to the terms

      of this Stipulated Order Governing the Disclosure of Privileged Information, and with the Court

      being fully advised as to the same, it is hereby ORDERED:


 I.          APPLICABILITY

             1.      This Order shall be applicable to and govern all deposition transcripts and/or

      videotapes, and documents produced in response to requests for production of documents,

      answers to interrogatories, responses to requests for admissions, affidavits, declarations, and all

      other paper or electronically stored information (“ESI”) or material produced, made available for

      inspection, or otherwise submitted by any of the parties in this litigation as well as testimony

      adduced at trial or during any hearing (collectively “Information”).
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  II.        DISCOVERY MATERIALS CONTAINING POTENTIALLY PRIVILEGED
             INFORMATION

             2.   The production of any privileged or otherwise protected or exempted Information

  shall not be deemed a waiver or impairment of any claim of privilege or protection, including,

  but not limited to, the attorney-client privilege, the work product doctrine, or another legal

  privilege protecting Information from discovery, provided that the producing party notifies the

  receiving party, in writing, of the production, and of the producing party’s intent to maintain the

  privilege or protection, after its discovery of same.


             3.   The production of privileged or otherwise protected or exempted Information,

  whether inadvertent or otherwise, is not a waiver of the privilege or protection from discovery in

  this case or in any other federal or state proceeding pursuant to Federal Rule of Evidence 502(d).


             4.   Notwithstanding the agreement set forth in Paragraph 3, the privilege may be

  waived in this case (and this case only) when: (a) the producing party affirmatively uses that

  information in this litigation by motion, pleading, or otherwise; or (b) where the producing party

  does not alert the party using the document within 24 hours of the use of the information in this

  litigation by motion, pleading, or otherwise that the document may be privileged. In the event of

  the scenario described in 4(b), the producing party will investigate and confirm or withdraw its

  objection within three days or in a reasonable amount of time thereafter as agreed to by the

  parties.


             5.   The producing party must notify the receiving party promptly, in writing, upon

  discovery that a privileged or otherwise protected document has been produced. Upon receiving




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  written notice from the producing party that privileged and/or work-product protected material

  has been produced (the “Identified Materials”), all such information, and all copies thereof, shall

  be returned to the producing party or destroyed or deleted within ten (10) business days of

  receipt of such notice and any analyses, memoranda, or notes that were internally generated

  based upon such inadvertently produced Privileged Material shall be sequestered. The receiving

  party shall also attempt, in good faith, to retrieve and return or destroy all copies of the Identified

  Materials in electronic format in databases or other locations used to store the documents. The

  receiving party may make no use of the Identified Materials during any aspect of this matter or

  any other matter, including in depositions or at trial, unless the documents are later designated by

  a court of competent jurisdiction as not privileged or protected. To the extent not already

  provided, the producing party will provide a privilege log providing information required by the

  Federal Rules of Civil Procedure and applicable case law to the receiving party when the

  producing party provides the receiving party notice of the Identified Materials.


         6.      If any receiving party has reason to believe that it is in receipt of a document from

  a producing party that is privileged, the receiving party shall in good faith take reasonable steps

  to promptly notify the producing party of the production of the Identified Materials so that the

  producing party may make a determination of whether it wishes to have the Identified Materials

  returned or destroyed pursuant to this Stipulation and Order.


         7.      Nothing in this Order overrides any attorney’s ethical responsibilities to refrain

  from examining or disclosing materials that the attorney knows or reasonably should know to be

  privileged and to inform the producing party that such materials have been produced.



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         8.      The contents of the Identified Materials shall not be disclosed to anyone who was

  not already aware of the contents before the notice was made.


         9.      The party returning the Identified Materials may move the Court for an order

  compelling production of some or all of the material returned or destroyed, but the basis for such

  a motion may not be the fact or circumstances of the production itself, provided, however, that a

  party may argue that the information was intentionally waived through use in this litigation as

  described in Paragraph 4 above.


         10.     The producing party retains the burden, upon the receiving party’s challenge, of

  establishing the privileged or protected nature of the inadvertently produced material.


         11.     If the receiving party has any notes or other work product reflecting the contents

  of the Identified Materials, the receiving party will not review or use those materials unless a

  court of competent jurisdiction later designates the Identified Materials as not privileged or

  protected.


         12.     This Stipulated Order does not constitute a concession by any party that any

  documents are subject to protection by the attorney-client privilege, the work product doctrine or

  any other potentially applicable privilege or doctrine. This agreement also is not intended to

  waive or limit in any way either party’s right to contest any privilege claims that may be asserted

  with respect to any of the documents produced except to the extent stated in the agreement.




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         13.    By entering this Order, a party is not giving up its right to review its documents

  for privilege or any other reason (including to identify non-responsive documents) and the

  existence of this Order cannot be used to compel a party to produce documents without review.

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  Class Counsel


  By: s/ Elizabeth Stork




  SO ORDERED:


                                           Date: November 26, 2018
  The Honorable John L. Kane
  Senior U.S. District Court Judge



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